TA

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 1 of 57

-

i a , yi fg
OUMUL vi es

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

BARBARA DELUCA and DREW R.
NAYLOR, on behalf of themselves and
other similarly situated limited partners,

Plaintiffs, I 9 CV I 04 0 8

Vv. : Civil Action No.

GPB AUTOMOTIVE PORTFOLIO, LP,

GPB HOLDINGS I, LP, :

GPB CAPITAL HOLDINGS, LLC, : JURY TRIAL DEMANDED
ASCENDANCY ALTERNATIVE :

STRATEGIES, LLC, ASCENDANT

CAPITAL, LLC, AXIOM CAPITAL

MANAGEMENT, INC., DAVID

GENTILE, MARK MARTINO,

JEFFREY LASH, and JEFFREY

SCHNEIDER,

Defendants.

 

CLASS ACTION COMPLAINT

121213333_1
 

Il.

Hl.

V.

VI.

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 2 of 57

 

TABLE OF CONTENTS

Page
TN TROD UIC TION ses vccizcavvisssiassnnvavienevsanssecesteveevieresanesesceasadysesnrncesactzeconecca sia eovanscusaentazpexeseguaaetccasiens 2
PAST TES cc sor gercs oop. stcce daa pabhvihas oan Oddsk ea husfaged esa dA 1a NIA a Daa 6
A. PEAATRITIBES) vocosaccpres sixes sesiaddssessaqcdelie aces dasazabavdsacanag pvenaaans aeatea gongs bapidiax een cvaaidandanag eidalee aGearuey ey 6
B. PVE ERISA INT Sas sv ecaressoie teens a aeswannaceacwige as teaberadancaererisasresssmnsarpaqeendaraasetens eaatcins daivai gras ancerteaeas 7
1. Erirrch SES TTC ATES ec cose ceccynantzaceviah aaaeey vais oe penvaueasepasasdes a bbhiigerasgengtse ts tevertdant teopsnenersampae F
2 Selling DShendanits o,...5sssssssereuassas aaa sevice ianezcectanaaieniven aanicedtescauersswesezvanseete ones 9
JURISDICTION, VENUE, AND DEMAND FOR TRIAL BY JURY wiccec cc cctceseeeeeseereeens 11
PACTUAL ALLEGATION Sei cisscestiazasvessscesaceuss tovccncocuascosatseveascnibbde tied cadeesavoenedveveordauseemasastabereias 12

A, THE GENERAL PARTNER CREATES THE GPB INVESTMENTS TO INVEST IN AUTOMOTIVE
DEALERSHIPS AND OFFERS LIMITED PARTNERSHIP UNITS TO INVESTORS ......::::ccccseerre 12

B. THE FUND DEFENDANTS OFFER THE GPB INVESTMENTS TO INVESTORS THROUGH THE

SELLING DEFENDANTS, WHO HAVE DEEP TIES TO THE GENERAL PARTNER AND

RECEIVED LUCRATIVE FEES) vsissisrpccctseodacestycasvraazavvisvduaasravaunndeb titra ddess ves vachesaacronter cGegesetaate 14

Cc. DEFENDANTS FRAUDULENTLY INDUCE INVESTORS INTO PURCHASING LP UNITS IN THE
GPB INVESTMENTS AND CONCEAL AN ILLEGAL SCHEME TO DEFRAUD INVESTORS ..... 17
1. The Automotive Dealership Approval Process Is Rigorous And Subject To Strict
REQUIFGMIENS..-. ...cscescisasesvactssbesvedscsnanssidyvanssiacerinekabenserssecubantensaveseeptisaninacatnarsnasiess 17

2. The Fund Defendants Circumvented The Manufacturer Approval Process Using
The Convertible Loan Scheme ......ccccccceccsessesssssssnnsesrsnnesssssendenioeescsbebaqeesenetcieeenses 18

3, The Private Placement Memoranda Made Material False Statements And

Omissions Concernin

   

4. Lawsuits Involving The General Partner Reveal An Illegal Ponzi Scheme And
Undisclosed Self-Dealing Payments And Transactions. ...........ccc:csseseeseeeee 24
D, DEFENDANTS’ HOUSE OF CARDS BEGINS TO CRUMBLE.......:ccesseseeeseseceeeetteeeeeeetenevnnseas 36
1. The General Partner’s CFO Resigns .......:ccccccccsccsssesessssscssssensscsseneerseeteseeetenene 36
2 The General Partner’s Auditor Resigns And The GPB Investments’ Financials
Need To Be Restated .......:....scsesssseesscrseesineassonaerwscuiusssasuaaiassvisausisvassiaseesrestaneeeaenas 37
3 GPB Capital And The GPB Investments Become The Target Of Government
Figg SCIAP GTS ays casencryan ss onescassasstsaces circhsannsaiccapigayseariads touseteeytasviasds inaad ateoienedeeee 40
4, Defendants Admit To Paying Distributions Using Investor Capital Contributions
Instead Of Operating Income, As Previously Represented, And Then Promptly
Cease Making Investor Distributions..........ccccccccsssesesessesesecsesetsnateneessnenssnenenernees 4]
33 The General Partner’s Chief Compliance Office Is Indicted For Obstruction of
WAS CRE ok hs cos gustenereidaaayed rapancacaseereseanrcaapa scopes trandieNue eabaad Boreas ieceeaihbapsoagagianagercassiad?s 43
SEAS ATCT BRS A TING ss vccnscigess totes tansy sataiiives Ya tesitdcesiad ash Vosiiina cbenauSoadnncina laulaicaud stunt angivescutuisiagy 43
CEU TS sas ic vessadeacatecsianin d2nys esa aceiavna reece ntoyertie nan nalecmeencivenngnganesdsastaensnaasaiteapsianuaesusbentneaibitinecnds 46
1

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 3 of 57

ESCORT Ls cosccesanevendecsnevetscanmadeadevivsadeopsesmaconestis ta aaeiaeskan decane teslanon von eaniaeniaummentandioadade 46
Fraud IN THE INDUCEMENT Against the vacicssssscsnncssancsrssasssaansyisnianvensstenrsseestanessaraceenccees 46
Fund Defendants and the Selling Defendants............cccccsssssssssesseesnssesenesessenessaseesensenaeneanenas 46
COOTIIUD W vss seca scpsaaencavcyspsaningntezsesesese snexceavvesereatacea ietacshinspnanses dane aqansavaeerser stir cdareantedeawinances 47
Fraudulent Misrepresentation Against the Fund Defendants and the Selling Defendants ......47
FTI DLT asta ccesics avaic ad sx asta Naveen vs Woinse os ei Ghasedow ceed dln paolpgmeaiaaiedape bee lec ae eas despa uae 49
Breach of Contract Against the General Partner .........ccccssssssseneereneerseeseeeieeenseteteseateneeesnenes 49
CONTE T TY emcitinzaveih eventanios'aadvarapeevheoupest sina bebahseenndadtasuniu la ke neRsis SAD NDTRASA AI sRATET AANA RETRO CS 50
Breach of Duty to Make Lawful Distributions Against the General Partner ...........::seeee 50
COUNT ¥ Jc.cs:usanudinutiotanides tammmcani a pian aimee 51
Aiding and Abetting Fraud Against the Selling Defendant ..............scssssesseeseeeestseeeeneeennes 51
COURT AW Le sneer camnuscitad nec erniccaprerenss nasemnmnnpnn cian slamemibenaNind 52
Unjust Enrichment Against All Defendant ..............c:ccssesssssseseseseesseeserenetsnensenresnesesneesenesaes 52
WIL, “PRAVERIFOR RELIEP cs sccncmanscsenceicetoranncaneennaiaieiciitinminusi ma emaagnaimiiennnnrtianain 53
il

121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 4 of 57

Plaintiffs Barbara DeLuca and Drew R. Naylor (together, “Plaintiffs”), file this class
action on behalf of themselves and other similarly-situated limited partners (“Limited Partners”)
against Defendants GPB Automotive Portfolio, LP (“Automotive”), GPB Holdings II, LP
(“Holdings II”), GPB Capital Holdings, LLC (“GPB Capital” or “General Partner™) (together
with Gentile, Lash, Schneider, Automotive and Holdings II, the “Fund Defendants”), Mark
Martino (“Martino”), Ascendant Alternative Strategies, LLC (“AAS”), Ascendant Capital, LLC
(“Ascendant”), Axiom Capital Management, Inc. (“Axiom”) (together with Martino, AAS and
Ascendant, the “Selling Defendants”), David Gentile (“Gentile”), Jeffrey Lash (“Lash”), and
Jeffrey Schneider (“Schneider”) (collectively with Gentile and Lash, the “GPB Individual
Defendants”) (together with the Fund Defendants and the Selling Defendants, the “Defendants”.
Plaintiffs allege the following upon information and belief, except as to those allegations
concerning Plaintiffs, which are alleged upon personal knowledge. Plaintiffs’ information and
belief is based upon, among other things, their counsel’s investigation, which includes without
limitation, their review of: (a) over esi pages of documents produced by Defendants
pursuant to Plaintiffs’ demands to inspect books and records pursuant to 6 Del. C. § 17-305 sent
to Holdings 1
a: (b) the parties’ relevant limited partnership agreements (“LPAs”) and private placement
memoranda (“PPMs”) and other GPB Capital correspondence; (c) regulatory filings made with
the United States Securities and Exchange Commission (“SEC”); (d) press releases and media
reports issued by or concerning Defendants; (e) public court filings by Defendants and others;
and (f) other publicly-available information concerning Defendants.

Plaintiffs bring this class action on behalf of all persons or entities who purchased or

otherwise acquired limited partnership units (“LP Units”) in Automotive and Holdings II (the

121213212_]
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 5 of 57

“Class”). Plaintiffs seek rescission, disgorgement, and monetary relief for themselves and the
Class, and any other such relief as the Court may deem just and appropriate.

I. INTRODUCTION

ir This action arises out of a fraudulent scheme whereby Defendants raised money
and/or assisted in raising money from investors for Automotive and Holdings II (the “GPB
Investments”) by marketing investments in car dealerships and other investment opportunities
with a promise of steady, long-term returns. In reality, it was a short-term fraud by which
Defendants lied to and withheld material information from investors in order to induce
investment, siphoned off lucrative fees for themselves, and paid their investors “distributions”
with subsequent investor capital, which Defendants misrepresented to be the product of
dealership operational cash flow and profit. As of May 2018, over 14,000 Limited Partners were
fraudulently induced into investing more than $1.27 billion of capital into Defendants’
fraudulent scheme, which Defendants knew was virtually impossible to sustain. Defendants,
nonetheless, managed to pay themselves over $100 million in fees from the funds that Plaintiffs
and the Class unknowingly invested into the fraud. Moreover, Defendants failed to inform
investors that the exorbitant fees, expenses, and compensation on sales, acquisitions,
management, and operations were being paid to related party entities and individuals.

2 Formed in 2013, GPB Capital is the General Partner of Automotive, Holdings II,
and at least eight other private partnerships that have raised capital primarily through the sale of
LP Units to investors through broker-dealer firms, Beginning in 2013 for Automotive, and 2015
for Holdings II, the General Partner and its owner and officers solicited Limited Partners to
invest in the GPB Investments, whose primary aim was to purchase retail car dealerships for the
purpose of generating operating revenue that would be distributed to Limited Partners in the

form of dividends.

121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 6 of 57

a For example, in 2014, Plaintiff DeLuca and other Automotive Limited Partners

were told that the investment program’s primary focus would be a

Instead, the General Partner’s aim was to deduct fees, expenses, and advances on profits from
investor capital and pay itself and interrelated outside entities these monies, all of which were
grossly disproportionate to the value and risk associated with the investment plan or the services
that they provided.

4, To achieve their true goal of siphoning off and absconding with money directly
from the investment to profits themselves and related third parties, the Fund Defendants needed
to raise ever-increasing amounts of investor capital.

35 To do so, the Fund Defendants made aggressive distribution projections in their
PPMs to entice investors, who were told in the PPMs that they could expect to begin receiving
distributions based on dealership cash flows within three months from when they purchased LP

Units in the GPB Investments. Plaintiffs and the other Class members were promised J

121213212_]
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 7 of 57

6. Meanwhile, the Fund Defendants and the Selling Defendants knew that these

distribution expectations could not be met relying exclusively on cash flows from dealership

operations, as Automotive, Holdings II, and other related Ss Fl
Se eee eee
SSS se

q To remedy this issue, the General Partner paid Automotive and Holdings II
distributions to Limited Partners, including Plaintiffs, from the subsequent investment capital
raised for Automotive, Holdings II, and the other GPB Capital entities that the General Partner
operated. Each time it did so, the General Partner increased the need to raise more capital to
fulfill more distribution expectations.

8. This need became perpetual as Defendants repeatedly expanded their offerings.
Put succinctly, the Fund Defendants and the Selling Defendants engaged in a distribution plan
commonly referred to as a “Ponzi scheme” (the “Ponzi Scheme”).

9. To conceal this Ponzi Scheme and their true motives, the Fund Defendants and
the Selling Defendants consummated a scheme that made Automotive, Holdings II, and other
related GPB Capital entities appear to be acquiring dealership assets and dealership cash flows.
However, this plan too was a fraud.

10. To obtain ownership of a car dealership, a person must obtain manufacturer
approval, which has strict requirements and is a lengthy process. Knowing that they could not
obtain approval on the timetable needed to meet distribution expectations, the Fund Defendants
and the Selling Defendants employed a deceptive, convertible loan scheme that would

circumvent manufacturer-franchising requirements (the “Convertible Loan Scheme”).

121213212_1

 
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 8 of 57

11. Specifically, Defendants paid dealership owners a purchase price that they
characterized as a forgivable loan that could be converted into equity. In exchange, they
purported to obtain access to dealership operations and cash flows so that the Fund Defendants
could appear to be carrying out the investments promised in the PPMs.

[:2) But in making these so-called “loans,” the Fund Defendants flouted manufacturer
approval requirements, and Defendants knew that it was virtually impossible that this loan device
would result in actual manufacturer-approved ownership of a dealership that could be presented
as a going concern because neither the General Partner, nor the GPB Investments, possessed the
requisite expertise or track record to obtain manufacturer approval for the dealership. None of

this was disclosed to Plaintiffs or the Class prior to their investments in the GPB Investments.

—
w

GE Neither the Fund Defendants, nor the General Partner, had any significant
expertise or experience in the automotive retail sector.

14.

Ree Fund Defendants purchase portfolios of dealerships and

employed their former owners, including individuals dealership group owners Jeffrey Lash,

Patrick DiBre and David Rosenberg. All three of these individuals eventually sued Fund

121213212_1

 
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 9 of 57

Defendants for nonpayment and breach of contract, and nearly all have accused Fund Defendants
of defrauding the Limited Partners.
15. Moreover, from 2013 to 2017, Defendants relied on their accountants to present a

picture of a stable going concern and produced audited financial reports that contained

misleading and falsified information. [iS

16. By employing these fraudulent schemes, Defendants induced the Limited Partners
to purchase LP Units in Automotive and Holdings II to their detriment, and as a result, they are
responsible for Plaintiffs’ losses. Plaintiffs are entitled to the return of their capital investment
and punitive damages.

Il. PARTIES

A. PLAINTIFFS

17. Plaintiff Barbara DeLuca (“DeLuca”) is a natural person who resides in Boynton
Beach, Florida. DeLuca purchased two units in Automotive for $100,000 on June 1, 2015, and
has continuously held such units at all relevant times.

18. Plaintiff Drew R. Naylor (“Naylor’’) is a natural person who resides in North
Carolina. Naylor’s spouse, Dr. Lee Ann Naylor, purchased one unit in Holdings II for $50,000
in March 2018 and has continuously held such unit at all relevant times. Naylor is the assignee

of his wife’s interests in Holdings II.

121213212_]
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 10 of 57

B. DEFENDANTS
1. Fund Defendants

19. Defendant Automotive is a Delaware limited partnership with its principal place
of business located at 159 Northern Boulevard, Great Neck, NY 11021; 1581 Franklin Ave.,
Garden City, NY 11530; and 535 West 24th Street, Floor 6, New York, NY 10011.

20. During the relevant times hereto, Automotive offered and sold LP Units to
investors, including Plaintiffs. GPB Capital is the General Partner of Automotive. Swi
ee

21. Defendant Holdings II is a Delaware limited partnership with its principal place of
business located at 535 West 24th Street, Floor 6, New York, NY 10011. During the relevant
times hereto, Holdings II offered and sold LP Units to investors, including Plaintiffs.

22. Defendant GPB Capital is a Delaware limited liability company that holds itself
out as having its principal place of business located at 535 West 24th Street, Floor 6, New York
City, NY 10011. 200 wes at all
relevant times the General Partner, control person, manager, and majority owner of the GPB
Investments. GPB Capital orchestrated the offerings of the GPB Investments and offered and
sold the LP Units issued by the GPB Investments to Plaintiffs and other investors. [I
ae ee

23. Defendant David Gentile is a natural person that resides in New York. Together
with Defendants Lash and Schneider, Gentile co-founded GPB Capital in 2013. At all relevant
times, Gentile was the sole owner and Chief Executive Officer (“CEO”) of the General Partner.
He was integrally involved in the preparation of the PPMs for the GPB Investments and

managed the day-to-day operations of the GPB Investments. Gentile is also an indirect owner in

AAS.

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 11 of 57

24. Defendant Jeffrey Lash is a natural person that resides in New York. Lash
masterminded the automotive dealership investment strategy that culminated in the GPB
Investments and brought the original idea to Defendant Gentile in 2012. Gentile brought in
Defendant Schneider, who was the president of a private equity firm, and together they co-
founded GPB Capital in 2013, whereby Lash became Managing Partner of Automotive. Lash is
also a former officer of the General Partner and a former Co-Director of Automotive Retail for
the General Partner. Lash oversaw the various operating partners at the dealership level. He was
integrally involved in seeking investors for the GPB Investments, the preparation of the PPMs
for the GPB Investments, and managed the day-to-day operations of the GPB Investments. On
February 10, 2018, Lash resigned and entered into a Resignation Agreement with GPB Holdings,
which subsequently was amended by a Restated Agreement. In October 2018, Lash filed a
lawsuit against GPB Capital, Automotive, Gentile, and others for breach of contract in the
Eastern District of New York, which he later voluntarily withdrew in November 2018—the same
month that the GPB Investments’ auditor resigned.

25. Defendant Jeffrey Schneider is a natural person who resides in Austin, TX. He is
the co-founder of GPB Capital with Defendants Gentile and Lash and serves as GPB Capital’s
Strategic Advisor. Schneider is also founder and CEO of Ascendant Capital and the Founding
Principal of Ascendant Alternative Strategies. Schneider is also the former Senior Vice President
of Axiom Capital Management. Schneider was integrally involved in the preparation of the
PPMs of the GPB Investments and offering the LP Units to investors.

26. Defendants Gentile, Lash, and Schneider are collectively referred to as the “GPB
Individual Defendants” and collectively with the General Partner, Automotive, and Holdings II,

the “Fund Defendants”.

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 12 of 57

27. | The GPB Individual Defendants, as a result of their senior positions within the
Fund Defendants and/or their affiliates, had access to material non-public information of GPB
Capital and/or the GPB Investments, possessed the power and authority to control the content
and form of the GPB Investments’ solicitation materials to prospective investors, knew that the
solicitation materials contained false and/or misleading statements, permitted investors,
including Plaintiffs, to rely on those false and/or misleading statements in making their
investment in the GPB Investments, and took no steps to remediate the false and/or misleading
statements made to investors, including Plaintiffs.

ee Selling Defendants

28. Defendant Axiom Capital Management, Inc. (“Axiom”) is a Delaware corporation
with its principal place of business located at 780 Third Avenue, New York, NY 10017. Axiom
is a financial services business and licensed broker-dealer firm. Axiom served as the underwriter
(or managing broker-dealer) of the GPB Investments’ LP Unit offerings. As underwriter of the
GPB Investments’ LP Unit offerings, Axiom played a key role in structuring and overseeing
those offerings, preparing the offering materials distributed to investors, overseeing the
distribution of such offering materials to investors, and/or offering or selling the GPB
Investments’ LP Units to investors. Defendant Schneider is a former Senior Vice President at
Axiom. Defendant Martino was the former-CEO and President of Axiom prior to founding AAS.
Ascendant Capital is a registered representative of Axiom.

29. Defendant Ascendant Alternative Strategies, LLC (“AAS”) is a Delaware limited
liability company with its principal place of business located at 535 West 24th Street, Floor 4,

New York City, NY 10011. AAS is a managing broker-dealer, providing investment banking

and securities servicing to investment advisors and broker dealers. ——— sh

9
121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 13 of 57

30. Defendant Ascendant Capital, LLC (“Ascendant Capital”) is a Delaware limited
liability company with its principal place of business located at 14412 Galleria Circle, Building
H, Suite 100, Austin, TX 78738. According to Ascendant Capital’s website, securities products

and services of Ascendant Capital are offered through AAS, and all Ascendant Capital members

are Registered Representatives of AAS.

a1,

oO
OQ
o
oS
Qo.
p
5
5
ny
fa)
ot.
5
o
a
p
oS
p
oF
cc
=
2.
‘3
oO
=
w
o
no
cS
=a
°
=
oO
w
—
Qa.
oO
wo
a
Q
°o
a
wn
Ss
bar
wn
—
=
oO
wm
w
5

New York.

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 14 of 57

32. Defendants Axiom, AAS, Ascendant Capital and Martino collectively are referred
to as the “Selling Defendants.”

Ill. JURISDICTION, VENUE, AND DEMAND FOR TRIAL BY JURY

33. This Court has jurisdiction over this dispute pursuant to the Class Action Fairness
Act of 2005, codified at 28 U.S.C. § 1332(d)(2)(B). The amount in controversy exceeds
$5 million. The class includes more than 100 individuals; at least one Plaintiff is a citizen of a
foreign state, and the Fund Defendants and some of the Selling Defendants are all citizens of
New York.

34. Venue is proper in this Court under 28 U.S.C. § 1391(a)(3), as one or more of the
Defendants reside in the district encompassed by this Court and the principal place of business of
one or more Defendants is in the district encompassed by this Court. Furthermore, a substantial
part of the events and omissions giving rise to the claim occurred in the district encompassed by

this Court.

Se
36. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby

demand a trial by jury as to all matters triable thereby, a ee ead

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 15 of 57

IV. FACTUAL ALLEGATIONS

A. THE GENERAL PARTNER CREATES THE GPB INVESTMENTS TO INVEST IN
AUTOMOTIVE DEALERSHIPS AND OFFERS LIMITED PARTNERSHIP UNITS TO
INVESTORS

37. Onor about 2012, Defendants Gentile and Lash discussed starting an investment
fund, whereby Gentile would serve as the general partner of the fund that would invest in, among
other things, automotive dealerships, and Lash would serve as the manager of the fund’s
automotive segment. Lash and Gentile met with Defendant Schneider, Gentile’s friend and
president of Ascendant Capital, and agreed that Schneider would raise funds from outside
investors to make investments in businesses that would generate a predictable and sustainable
cash flow, with a focus on the automotive industry.

38. In 2013, Gentile, Schneider, and Lash formed GPB Capital, Automotive, GPB
Holdings, LP (“GPB Holdings I”), GPB Holdings Qualified, LP, GPB Holdings Automotive,
LLC, and GPB Portfolio Automotive, LLC to implement this plan.'

39, | The General Partner formed Automotive on May 27, 2013 for the purpose of
acquiring and operating automotive dealerships. The LPA for Automotive gives the General
Partner exclusive authority to manage and operate the Automotive investment fund.

40. Holdings I] was formed on April 17, 2015 to acquire and operate companies in
the automotive retail, information technology, and healthcare sectors. The LPA for Holdings II
gives the General Partner exclusive authority to manage and operate the Holdings II investment

fund.

 

' The General Partner also operates and manages several other funds that are formed through
LPAs. For example, it manages and operates GPB Holdings III, LP, GPB Holdings Qualified
LP, GPB Cold Storage, LP, GPB Eurobond Finance PLC, GPB NYC Development, GPB
Scientific, and GPB Waste Management, LP, for whom the General Partner made private-
placement offerings similar to the offerings that the GPB Investments made.

12
121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 16 of 57

41. Between June 2013 through 2018 for Automotive and April 2015 through 2018
for Holdings II, the Fund Defendants and the Selling Defendants began raising capital from
investors under Regulation D for unregistered securities and started marketing the GPB
Investments to investors through a series of PPMs. The PPMs explained that capital funds would
be used to acquire car dealerships that would produce long-term and steady returns for the
Limited Partners.

42. All investors in the GPB Investments (or their nominees) were provided copies of
the PPMs for the investment fund in which they invested, and all investors were required to

acknowledge that they received a copy of the PPMs as a condition to purchasing LP Units. rx"

43,

44,

45. | The GPB Investments’ offerings to investors increased substantially over time.
For example, Automotive’s initial offering was $50 million in 2013. By March 2015,
Automotive had increased its offering to $150 million. Less than a year later, it reportedly
increased its offering to $250 million even though it had sold only $32 million in LP Units. By
2016, Automotive reported an indefinite offering and had sold more than $176 million in LP
Units, and its PPM for Class A LP Units disclosed an offering of $500 million. In 2017,

Automotive reported an indefinite offering and that it had sold more than $369 million in LP

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 17 of 57

Units. In 2018, it reported an indefinite offering and that it had sold more than $622 million in
LP Units, and the PPM disclosed an offering of $750 million for Class B LP Units. On June 30,
2018, Automotive stopped selling LP Units after having raised approximately $673 million.

46. Holdings II’s offerings likewise increased exponentially. In April 2015,
Holdings II initiated an offering of up to $350 million. In a December 2015 supplement to the
Holdings II PPM, the $350 million offering was maintained, but it was noted that the offering
“may be increased at the sole discretion of’ the General Partner “up to an anticipated maximum
of $500 million.” By March 2016, Holdings II had increased the Class A LP Unit offering to
$500 million. The 2016 PPM disclosed that it had reached that maximum, despite Holdings II’s
audited financial statements for the year ending 2016 indicating that it had only sold $110
million in Class A capital contributions that year. In its January 2018 PPM, Holdings II disclosed
that it had exceeded its “anticipated maximum” and increased the offering to $750 million.

B. THE FUND DEFENDANTS OFFER THE GPB INVESTMENTS TO INVESTORS

THROUGH THE SELLING DEFENDANTS, WHO HAVE DEEP TIES TO THE
GENERAL PARTNER AND RECEIVED LUCRATIVE FEES

47, From 2013 until June 30, 2018, the General Partner worked primarily with two

registered broker dealers to manage the sale of LP Units: Axiom and AAS. eae

48. In exchange for serving as the broker-dealer for the LP Units, the Selling
Defendants received excessive fees and expenses well above industry rate for a comparable

investment.

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 18 of 57

49, Axiom sold LP Units in the GPB Investments beginning in 2013 for Automotive
and in 2015 for Holdings II. According to public filings, by May 19, 2016, Axiom had sold
Automotive LP Units to 1,869 investors, raised $176,110,533 in capital, and received
$19,372,158 in sales commissions, By May 19, 2016, Axiom had sold Holdings II LP Units to
899 investors, raised $76,017,028 in capital, and was paid $8,361,873 in commissions.

50. In 2017, the General Partner also began selling LP Units in the GPB Investments
through AAS. By May 2017, the General Partner, through AAS and Axiom, had more than
doubled the number of investors in Automotive to 3,851 and increased the total capital raised to
$369,234,443, while Holdings II investors climbed to 3,505 and increased the total capital raised
to $364,072,884. The Selling Defendants received sales commissions and fees deducted from
these investments in an aggregate amount of $86,163,610 ($43,385,047 for Automotive and
$42,778,563 for Holdings II).

51. Between 2017 and 2018, AAS continued to aggressively expand the sale of LP
Units in GPB Investments by retaining dozens of brokers and investment advisors from across
the country, referred to as “Soliciting Brokers,” who took instruction from AAS on the sale of LP
Units to investors. In a Form D/A filed on May 14, 2018, Automotive reported that that it had
increased the number of investors to 6,353, increased the capital raised to $622,143,273, and

reported that the amount of sales commissions paid from these investments had increased to

15
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 19 of 57

more than $52 million. Similarly, Holdings II reported that the number of investors had increased
to 6,095, the capital raised increased to $645,813,889, and the amount of sales commissions paid
from these investments had increased to nearly $50 million, totaling more than $100 million in
commissions to the Selling Defendants for Automotive and Holdings II combined.

52.

Wa
uw

54. Defendant Schneider,

55. Ascendant Capital and Gentile also are members of

56. | The General Partner and AAS are also next-door neighbors, listing offices in the
same building in the Chelsea district on the west side of Manhattan, and even sharing basic
business expenses.

57. The Fund Defendants and the Selling Defendants were all J and

acted in concert with the same motive of generating fees from the Limited Partners’ capital

16
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 20 of 57

contributions and taking advances on profits before they were due.

Cc. DEFENDANTS FRAUDULENTLY INDUCE INVESTORS INTO PURCHASING LP UNITS
IN THE GPB INVESTMENTS AND CONCEAL AN ILLEGAL SCHEME TO DEFRAUD
INVESTORS

1. The Automotive Dealership Approval Process Is Rigorous And
Subject To Strict Requirements

58. The investment thesis for the GPB Investments centralized around the acquisition
and ownership of automotive dealerships. However, purchasing an automotive dealership
requires a rigorous approval process subject to strict requirements and due diligence by
automobile manufacturers.

59. | Every automotive dealership applicant must enter into a franchise agreement with
the automobile manufacturer, which specifies the location within a designated market area in
which the dealership may sell vehicles and related products and perform approved services.

60. Manufacturers, however, are reluctant to trust their brand name to unknown
investors. Therefore, automobile manufacturers require that franchise applicants have sufficient
experience and working capital to operate the dealership before it will approve a franchise
application. Manufacturers also require that the dealership owners have a specified dealer
principal and an executive or general manager approved by the manufacturer as having the

requisite experience and expertise in the automobile dealership industry. A manufacturer is

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 21 of 57

unlikely to approve a franchise owner unless an applicant has developed a sufficient track record
in the automobile dealership industry.

61. Dealerships sold from one owner to another also must go through the same
rigorous manufacturer approval process. In the context of a dealership sale, the first step in the
approval process requires the seller to deliver a copy of the proposed purchase agreement to the
manufacturer. Once the proposed purchase agreement is provided to the manufacturer, the buyer
must submit a completed application and any requested diligence directly to the manufacturer.
The manufacturer will not approve the sale of the dealership until it is satisfied that it has all
requested information and that the information provided satisfies its criteria for franchise
ownership. At the end of the manufacturer approval process, the manufacturer provides
notification of the approval or denial of the application directly to both the dealer/seller and its
proposed purchaser. This dealership approval process typically takes six months or longer.

WM The Fund Defendants and the Selling Defendants did not disclose to investors the

cumbersome process or lengthy timetable required to obtain manufacturer approvals. Further, Jj

2 The Fund Defendants Circumvented The Manufacturer Approval
Process Using The Convertible Loan Scheme

63. The manufacturer approval process also presented a timing problem for the Fund

Defendants, as the

18
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 22 of 57

64. | The Fund Defendants knew about this problem and failed to disclose it when it
made its offerings to investors in the GPB Investments. Rather than disclosing this material risk,
the Fund Defendants and the Selling Defendants developed the Convertible Loan Scheme to end-
run the manufacturer approval process and allow the General Partner and the GPB Investments
to get access to the dealerships cash flows prior to obtaining actual ownership of the dealerships
— which in many instances never happened.

65. | Under the Convertible Loan Scheme, the General Partner or an entity it controlled
would enter into a purchase agreement with the dealership owner, whereby the GPB Investments
would pay the seller the purchase price in the form of a forgivable “loan” with a very low interest
rate, In exchange, the GPB Investments would obtain control of the dealership and its cash flows,
but it would not receive an equity interest. Instead, upon manufacturer approval of the sale of the
dealership, the GPB Investments had the right to convert the “loan” into equity in the dealership
and the seller’s debt on paper would be released. The GPB Investments’ management teams
would also be paid a management fee and other royalties in exchange for operating the

dealership while the manufacturer approval process was still pending.

66. For example,

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 23 of 57

67.

68. In 2014, the General Partner began doing business with Patrick Dibre (“Dibre”),
who owned several car dealerships in New York. Dibre claims he agreed to sell six dealerships
to GPB Capital for $80 million. On information and belief, the General Partner began to fund the
purchase price using the Convertible Loan Scheme to be paid over time. Between 2013 and
2015, the General Partner advanced $42 million to Dibre for the purchase of certain of his Nissan
and Volkswagen dealerships.

69. As part of the transaction between the General Partner and Dibre, the General

Partner received the net cash flows from the dealerships even though it did not yet own any of

hoo eee a a
i

General Partner ultimately was unable to complete the transaction to acquire several dealerships
from Dibre because it lacked the funds to do so.

70. On information and belief, the dealerships, typically did not generate the

necessary cash flow to make the promised distributions to investors.

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 24 of 57
(ee a
—SSEESSEES——SS Se

71. Effectively, the “Convertible Loan” was a sham that allowed the General Partner
to bypass normal manufacturer approval requirements, surreptitiously gain access to dealerships
net cash flows, and falsely represent to investors that the GPB Investments had acquired car
dealerships. Indeed, in some instances, like Dibre’s Nissan dealership, the General Partner and
the GPB Investments never actually received manufacturer approval for the dealerships in which

it had employed the Convertible Loan Scheme, falsely representing ownership to investors and

falsely reporting and using cash flows that did not actually belong to the GPB Investments.

3. The Private Placement Memoranda Made Material False Statements
And Omissions Concernin

 

72. From 2013 through 2018 for Automotive and from 2015 through 2018 for
Holdings II, the Fund Defendants and the Selling Defendants marketed the GPB Investments
using false and misleading representations and omissions made in the PPMs presented to

potential investors prior to purchasing LP Units.

ve

“

74. The GPB Investments’ strategy was to

21
121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 25 of 57

75, The General Partner also stated

could:

 

|

76. The Fund Defendants also acknowledged in their PPMs the

No
No

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 26 of 57

77. In fact, the General Partner “partnered” with Defendant Lash and Dibre—two
dealership owners and co-directors of auto-retail for the General Partner—who knew that the
GPB Investments were at a distinct disadvantage from other market participants because
manufacturers were unlikely to approve an equity fund as owner of an automobile dealership
absent a well-established reputation for operating funds. In fact, the franchising manufacturers

refused to approve the General Partner as owner for several of Dibre’s dealerships. For example,

78. Based on the experience of Defendant Lash and Dibre, the Fund Defendants and
the Selling Defendants knew that the equity fund model was viewed in the industry as a far
riskier model than traditional ownership by a member of the community. The Fund Defendants
and the Selling Defendants, therefore, knew that it was all but certain that manufacturers would
not grant a franchise or approve an unknown equity fund as an owner on the timetables set forth
in their PPM distribution projections. In fact, according to the complaint in a lawsuit filed by
Dibre in the New Jersey Superior Court (“DiBre NJ Action”), GPB Capital had pressured him to

enter what he dubbed “illegal stock sales” of numerous dealerships “in as much as none of the

sales had received manufacturer approval.”

121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 27 of 57
ea SES
_———S=ESES SS aa

79. To give its investment plan credibility, the General Partner referred investors to
news stories in its marketing materials, which reported that George Soros and Warren Buffett
were embarking on similar ventures using equity funds to acquire automotive dealerships. By
juxtaposing these news stories with its investment proposal, the General Partner intended to
create the belief that it shared the credentials of the likes of Soros and Buffett. But according to
Lash and Dibre, the General Partner knew that it could not garner the level of credibility needed
to convince a manufacturer to approve it as a dealership owner, let alone garner the level of

credibility that the likes of Soros and Buffett could.

4, Lawsuits Involving The General Partner Reveal An Illegal Ponzi
Scheme And Undisclosed Self-Dealing Payments And Transactions

80. On July 10, 2017, the General Partner—on behalf of Automotive, GPB Holdings
I, and Holdings II—filed a lawsuit against Patrick Dibre in the Supreme Court of New York in
Nassau County alleging breach of his contractual obligations to the General Partner and its
funds.”

81. Among many allegations, GPB Capital alleged that Dibre had implemented
improper and manipulative tactics that inflated the historic earnings of the dealerships he sold to
GPB Capital. In response, Dibre asserted detailed counterclaims alleging that the General
Partner was operating a Ponzi scheme and defrauding the Limited Partners invested in the funds

that the General Partner managed (the “Dibre Counterclaims”).°

 

2 GPB Capital Holdings, LLC et al. v. Dibre, Index No. 606417/2017 (N.Y. Sup. Nassau July 20,
2017).

3 Id. at Docket No. 51.

121213212_]
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 28 of 57

82.  Dibre alleged that, after GPB Capital took control over Dibre’s dealerships (but
without having actual ownership), it began implementing policies that negatively impacted the
dealerships’ financial performance but personally benefitted GPB Capital or its managers, and
that GPB Capital began manipulating the financial statements of the dealerships and the GPB
Investments to hide their activities. For example, while GPB Capital was only entitled to receive
the net cash flows from dealerships under the Convertible Loan Scheme, it overfunded itself
from the dealerships by drawing out more than the net cash flows from dealerships in order to
entice new investors, and then used that overfunded cash to distribute to investors as a “special
distribution,” while touting the exceptional performance of the dealerships. At the end of the
year, GPB Capital would “invest” the amount of the overfunded money into the dealership for
“capital improvements” to cover the deficiency.

83. | Defendants Gentile and Schneider recorded the purchase price of dealerships they
purchased at several million dollars more than the actual purchase price, including closing
expenses and working capital investment, and then directed those additional monies back to
themselves, or entities in which they held an interest, as acquisition fees.

84. Gentile and Schneider also created an entity called LSG, to which they directed in
excess of $4 million from reinsurance funds and manufacturer rebates that should have been paid
to the dealerships, and, ultimately, to Limited Partners. GPB Capital also manipulated financials
by taking factory incentives that were earned, but not yet received, and distributed those funds to

investors.

85.

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 29 of 57

ee ee ee ee

example, in 2016, Dibre alleged that on several occasions GPB Capital transferred funds from
GPB Holdings I to Automotive and vice versa in order to bolster returns if one fund was lagging
behind. Gentile would also have potential sellers of dealerships increase the purchase price by a
certain dollar amount needed to pay back investors, and then take the additional funds as a rebate
at closing of the dealership.

86. In 2015, GPB Capital obtained personal guarantees, backdated to 2014, in the

amounts of $810,462 and $325,739 so that financial records did not reveal the actual losses. J

87. GPB Capital also manipulated financials by inflating the value of dealerships to

further cover for actual losses.

88. GPB Capital, Gentile, and Schneider also sought to personally benefit from the
reinsurance business at Dibre’s dealerships. For example, warranty products are typically
offered to customers through dealerships, whereby the warranty products are reinsured by the

owners to an outside reinsurance company and administered by a third-party administrator. The

26
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 30 of 57

third-party administrator charges a fee to administer the warranty and the balance of the price
paid for the reinsurance product is deposited with the reinsurance company.

89.  Dibre engaged in the reinsurance business prior to doing business with the Fund
Defendants. Upon entering into the business relationship with the Fund Defendants, Dibre
alleged that Gentile and Schneider wanted to become involved in the reinsurance business but
did not want to disclose to investors that they were personally benefitting from it, which would
represent a conflict of interest requiring disclosure. Therefore, GBP Capital entered into an
arrangement with Dibre whereby new warranties sold by the dealerships were funded into
Dibre’s reinsurance company, but the funds released after the expiration of the warranty were to
be paid for the benefit of GPB Capital.

90. At times, in order to assist with cash flow, Dibre agreed to advance GPB Capital a
portion of the warranty funds that had not yet been paid. Occasionally, Gentile and Schneider
would request Dibre to make warranty fund payments to LSG, a Gentile/Schneider-related
company.

91. In July 2019, David Rosenberg (“Rosenberg”) filed a breach of contract lawsuit in
Massachusetts state court against GPB Prime Holdings, LLC and Automile Parent Holdings,
LLC, entities both controlled by the General Partner (the “Rosenberg Complaint”).

92. Prior to 2017, Rosenberg owned and operated Prime Motor Group (“Prime”),
which was at that time one of the largest automotive dealership groups in New England. In 2017,
GPB Capital purchased a controlling interest in Prime and asked Rosenberg to oversee all of
their automotive dealerships. The combined portfolio of dealerships began doing business as the

Prime Automotive Group (“PAG”), and Rosenberg became CEO of PAG. PAG was one of GPB

Capital’s largest investments.

27
121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 31 of 57

93. The Rosenberg Complaint alleged that the defendants breached its contract to pay
Rosenberg $5.9 million pursuant to the terms of their purchase agreement. Rosenberg, however,
also claimed that the General Partner-owned entities breached their contract in retaliation against
Rosenberg after he made efforts to address fraudulent and wrongful conduct by the General
Partner and its affiliates.

94, Specifically, as CEO of PAG, Rosenberg became aware of information and
documents evidencing serious financial misconduct by the General Partner with respect to GPB
Capital’s management of the dealership portfolios it operated, including the GPB Investments,
before it acquired an interest in Prime, beginning at least as far back as 2014.

95. According to Rosenberg, the financial misconduct that he observed included, inter
alia, (i) the fabrication of revenue through the use of fictitious contracts; (ii) self-dealing
transactions on the part of GPB Capital principals, including Defendant Gentile; and
(iii) undisclosed related-party transactions that benefitted Defendant Lash. Rosenberg alleged
that this financial misconduct took place in order to make it appear to investors that profits from
the automotive investments were higher than they actually were, to conceal the fact that investors
were receiving distributions directly from investor contributions instead of operating profits, and
to misappropriate investor funds for the Fund Defendants’ own personal use and/or benefit.

96. For example, Rosenberg alleged to have seen two contracts titled “Performance
Guaranty,” which showed that Lash had personally guaranteed the 2014 performance of two
Volkswagen dealerships acquired by GPB Capital and that he had personally agreed to pay any
deficiency if the dealerships’ net profits were below $450,000 and $150,000, respectively. On
March 18, 2015, GPB Capital issued letters addressed to Lash indicating a deficiency and

seeking payments totaling $1,136,201. The 2014 year-end financial statements for GPB Holdings

28
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 32 of 57

I, issued on April 30, 2015, reported that, for the year ending December 31, 2014, approximately
$1,100,000 was paid into the dealerships based on the Performance Guaranties with Lash and
similar agreements with a different dealer-operator. The Performance Guaranties with Lash,
however, were actually a sham, as Lash never actually guaranteed the performance of the
dealerships and GPB Capital never expected him to pay the deficiency amounts. Indeed, most of
the purported debt was waived as part of a settlement agreement between GPB Capital and Lash
nearly 4 years later.

97. | Rosenberg also saw documents showing that, in April 2016, GPB Capital had
used a similar strategy to fabricate over $1 million of net profit for 2015 in order to boost the
profits that GPB Capital could report. Rosenberg claims to have seen documents showing that,
as GPB Capital was preparing documents for the 2015 year-end audit, it was, in fact, over $1
million short in revenue. To conceal the shortfall and manufacture profits to cover it, Gentile and
other GPB Capital executives fabricated another Peiformancs Guaranty in April 2016, whereby
Lash “guaranteed” a certain amount of profit from a certain dealership for 2015, but backdated
the agreement to January 1, 2015 to make it appear that it had been in place for the entirety of
2015. Rosenberg alleged that there was no evidence that Lash had paid the guarantee or that he
had any intent or ability to pay the guarantee. Lash also told a member of Rosenberg’s executive
team that the contract was “fictitious” and “was never supposed to be paid back.”

98. In April 2016, GPB Capital had one of its subsidiaries wire $700,000 into an
account associated with Lash. The same day that money was deposited, the same Lash account
deposited $1,050,000 into an account for one of the GPB Investments. According to the

Rosenberg Complaint, the purpose of the money transfer was to provide Lash with most of the

funds to pay the fictitious Performance Guaranty.

29
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 33 of 57

99. Rosenberg also witnessed documents evidencing improper “round tripping” by
GPB Capital in an effort to inflate revenues. In 2016, the head of a dealership group owned by
GPB Holdings I sent a payment of $3.2 million to certain other GPB Investments, but on the
very same day, those same GPB Investments sent $2.1 million to the head of that same
dealership as “working capital.” According to Rosenberg, the purpose of that transaction was to
conceal the fact that the dealership group was not truly generating $3.2 million in operating
revenue for distribution.

100. Rosenberg also claims that Defendants Gentile and Lash had funneled nearly $2
million in revenue to entities controlled by them under the guise of, inter alia, “management
fees.” For example, in 2015, $201,706 was transferred to an entity called Emdykycol, Inc.,
which is alleged to be owned by Defendants Gentile and Lash, and $201,706 was transferred to
Jarhirijo, Inc., an entity owned by Gentile. The Rosenberg Complaint further alleged that
dealership funds were siphoned off to LSG Auto Wholesale, an entity named for Defendants
Lash, Schneider, and Gentile, and that those payments served no legitimate business purpose, nor
were they disclosed to investors.

101. The Rosenberg Complaint further detailed allegations of GPB Capital providing
dealership-owned vehicles to third parties, including professional athletes and an investor in the
GPB Investments, which served no legitimate business purpose, were not properly accounted for,
and attributed costs directly to the dealerships that owned the vehicles. The Rosenberg
Complaint further detailed GPB Capital’s illegitimate purchase of a Ferrari for $355,000 through
one of the GPB Investments’ dealerships in December 2014 and alleged that the vehicle was

transferred to another GPB Investment dealership and later sold for a loss of $183,000 three

years later with only 1,700 miles on the vehicle.

30
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 34 of 57

102. Rosenberg also revealed a number of benefits specifically enjoyed by Defendant
Lash at the expense of investors, including Plaintiffs. For example, in one instance Lash drew, on
a dealership’s behalf, an advance of $750,000 that he labelled as a “retention bonus,” which was
then distributed to himself and several others. In another instance, following the close of a new
dealership purchase, Lash and others working on the dealership portfolio in question received
approximately $100,000 worth of sporting vehicles and equipment in an alleged kickback
arrangement. In addition, Lash and others tied to certain GPB Investment dealerships
orchestrated a kickback of $100 per vehicle for every Canadian used car purchase, which
Rosenberg alleged to have resulted in thousands of dollars being diverted from investor
distributions.

103. Rosenberg also detailed a number of misrepresentations made by GPB Capital to
investors and the efforts made by the Fund Defendants to cover up the financial improprieties.
For example, in September 2018, following Crowe’s resignation as auditor (discussed below),
GPB Capital and Ascendant representatives falsely reported the circumstances of Crowe’s
withdrawal, as well as falsely stated that another firm, Stoneturn Group LLC, had completed a
full forensic audit of GPB Capital and gave it a clean bill of health. Rosenberg claimed to have
demanded that the misstatements be corrected, but no correction had been made.

104. Rosenberg also revealed that GPB Capital consistently inflated the value of the
dealerships in the GPB Investments’ quarterly valuations and financial reports by carrying the
dealerships at their purchase prices, which, in later years, did not accurately reflect their values.
Rosenberg claimed to have consistently reported the information to GPB Capital about the

dealerships’ true valuation, but GPB Capital refused to adjust the valuations. According to

Rosenberg, it was not until June 21, 2019 that GPB Capital was informed by Fidelity

31
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 35 of 57

Investments that it would no longer carry its investments on its platform, and GPB Capital
announced that it was dramatically cutting the valuation of the automotive dealership
investments.

105. In May 2019, Rosenberg was questioned by GPB Capital’s auditors, and
Rosenberg provided information about the General Partner’s financial misconduct. Rosenberg
then received a threatening letter from GPB Capital’s outside counsel in an effort to silence him,
and GPB Capital began efforts to fire Rosenberg as CEO of PAG.

106. According to the Rosenberg Complaint, Rosenberg provided GPB Capital with
information about the financial misconduct on June 5, 2019 and requested that they take steps to
preserve the value of the dealerships, which GPB Capital refused to do.

107. None of these transactions and improper activities were disclosed to investors,
including Plaintiffs, prior to making their investments in the GPB Investments.

108. Moreover, in exchange for its so-called “management” of the GPB Investments
and the “day to day operations” of the dealerships, the General Partner paid itself a “managerial
assistance fee” consisting of 2% per annum on the capital contributions made by Automotive and
Holdings II investors in Class A and B units and 1.75% per annum on capital contributions made
by Automotive and Holdings II investors in Class A-1 and Class B-1 units. The General
Partner’s principals also used the relationships that they made with dealerships to extract
management fees for themselves directly from the dealerships. Meanwhile, because the General
Partner did not meet the necessary dealership approval requirements to do so, the General
Partner did not have control over nor could they manage the day-to-day operations of

dealerships. Therefore, they took management fees to which they were not legally entitled.

32
1212132121
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 36 of 57

109. Under the guise of legitimate fees and expenses, from 2015 through 2017,

Defendants siphoned off a significant percentage of investor capital funds in Automotive and

Holdings II, reportedly paying themselves and affiliates

110. Specifically, in 2015, 2016 and 2017, the General Partner extracted

 

 

111. Moreover, the amounts and types of expenses were

 

 

 

and consisted of the following:

 

2015 2016 2017 Total

 

Holdings I

EA bo Eee
Automotive | i | a |

 

 

 

 

 

 

 

 

112.

 

 

 

 

121213212_1]
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 37 of 57

L13:

114.

115.

116.

34
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 38 of 57

Ee. [nstead, the Fund Defendants and the Selling Defendants

knew that the distributions promised in the PPMs would need to be made, and in fact, were

made, at least in part, from SS.)

117. Automotive’s representation that it had made a

118. Indeed, it was impossible for the GPB Investments to distribute dividends to

investors from operations, as promised in the PPMs, because neither Automotive nor Holdings II

had

119. For example, by 2015, the General Partner had used

Distributions paid from Holdings II Investor Capital
YEAR Total Class A Class B

2015
2016
1/1/2017 - 9/30/2017

 

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 39 of 57

120. Similarly, in 2015, the General Partner used EE

Distributions paid from Automotive Investor Capital

Total Class A Class A-1 Class B Class B-1

 

121. By affirmatively misrepresenting and omitting the actual source of the
distributions, the Fund Defendants and the Selling Defendants concealed the fraudulent Ponzi
Scheme and Convertible Loan Scheme.

D. DEFENDANTS’ HOUSE OF CARDS BEGINS TO CRUMBLE
hs The General Partner’s CFO Resigns

122. In 2018, the General Partner’s CFO, Macrina Kgil, resigned due to concerns
about fraud related to the funds the General Partner managed, including the GPB Investments.
Notably, Kgil deleted all references to GPB Capital on her LinkedIn profile.

123,

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 40 of 57

124. According to LinkedIn, GPB Capital has stopped searching for a CFO and
currently lists no CFO on its general website.

2. The General Partner’s Auditor Resigns And The GPB Investments’
Financials Need To Be Restated

125. Both Automotive and Holdings II claimed to investors that [I

es {his representation was

made in the PPMs and various marketing materials and brochures from the inception of each
entity.
126. Holdings II has been and continues to be audited by [I
127. For Automotive, [ES conducted the

2014 and 2015 audits but was replaced by Crowe in 2016, who conducted the 2016 audit. On
May 1, 2017, Crowe provided Automotive with a clean audit opinion for the 2016 calendar year
and noted no exceptions.

128. Section 12(g) of the Exchange Act requires an issuer with total assets of more
than $10 million and a class of securities held of record by either 2,000 persons, or 500 persons
who are not accredited investors, to register that class of securities with the SEC. GPB Capital
met these thresholds for both Automotive and Holdings II, its two largest funds, by May 18,
2017.

129. Asaresult, by May 18, 2017, both Holdings I] and Automotive needed to file

registration forms and audited financials with the SEC, even though the funds were private and

37
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 41 of 57

not listed or traded on an exchange. While conducting its 2017 annual audit,

of the financial statements for the year ended December 31, 2016. Crowe further

=]
°
ot
Q
a
+
S
fat)
Lexy

=
Le
o

—
Wo
ee

132.

38
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 42 of 57

133.

134. On November 9, 2018, the General Partner distributed a letter to the Limited
Partners stating that it still does not have a final draft of its 2017 audited financial statements,
including supplementary information. The November 9th letter was also the first time that the
General Partner had made any disclosure to Limited Partners that Crowe had resigned as the

auditor for the Company over “perceived risks they determined fell outside of their internal risk

tolerance parameters.”
es GPE Capital retained
EisnerAmper LLP (“EisnerAmper”) as its auditor to replace Crowe.

135. On March 20, 2019, the General Partner sent a letter to the Limited Partners
stating that their new tax preparation firm would not have Schedule K-1 tax documents prepared
prior to the April 15, 2019 tax filing deadline and that Limited Partners should consult their own
tax professionals for guidance.

136. On April 4, 2019, the General Partner sent a letter to the Limited Partners stating

that there were delays in completing the audits for Automotive and Holdings II due to internal

39
121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 43 of 57

deficiencies and that it intended on completing the 2017 audits by June 30, 2019 and the 2018
audits by September 30, 2019.

137. On June 21, 2019, the General Partner sent a letter to the Limited Partners stating
that the delivery of outstanding audits for 2016, 2017, and 2018 would all be released on
September 30, 2019.

138. In September 2019, the General Partner informed Limited Partners that, due to
investigations by the SEC and Federal Bureau of Investigation (“FBI”), it would no longer be
able to meet the September 30 deadline and, instead, expected to complete the audits by the end

of the year.

|

3. GPB Capital And The GPB Investments Become The Target Of
Government Investigations

140. As their scheme began to unravel, Automotive failed to file a registration
statement and audited financial statements with the SEC by April 30, 2018, as required. By
August 2018, GPB Capital announced that it was suspending Automotive’s offering, as well as
investor redemptions.

141. In September 2018, the Commonwealth of Massachusetts secretary announced
that it had opened an investigation into the Selling Defendants and other broker-dealer firms that
sold LP Units in the funds controlled by the General Partner, including the GPB Investments.

142. The SEC and the Financial Industry Regulatory Authority (“FINRA”) also
reportedly made inquiries of broker-dealer firms that sold private placement securities in

partnerships controlled by the General Partner.

121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 44 of 57

143. On March 4, 2019, the General Partner sent a letter to the Limited Partners
stating:

On February 28, 2019 representatives of both the FBI and the New York
City Business Integrity Commission (“BIC”) arrived at GPB offices to
collect materials pursuant to a search warrant obtained by the U.S.
Attorney’s Office — Eastern District of New York (“U.S. Attorney”). As
previously indicated we believe this visit was a continuation of previous
ongoing inquiries and GPB has and will continue to cooperate with any
inquiries.

144. In that same letter, the General Partner further confessed that:

During the summer of 2018, GPB received a subpoena from the US
Attorney’s Office — Eastern District of New York requesting documents
concerning GPB’s Waste Management fund in connection with an
investigation done with the BIC. Since that time GPB has received
additional requests for information from the BIC and U.S. Attorney.

Lal

In September 2018 GPB received a subpoena requesting information from
the Securities and Exchange Commission (“SEC”).

Additionally, in October 2018 GPB received subpoenas from the New
Jersey Bureau of Securities for information... .

[...]

Much of the requested information does concern issues raised by former
operating partner, Patrick Dibre, in his response to our complaint filed
against him in the Nassau County Supreme Court.

145, Specifically, according to reports of an executive insider’s account, the focus of
the SEC’s questions “is the accuracy of disclosures made to investors, the performance of
various funds and the distribution of capital to investors.”

146. On July 15, 2019, GPB Capital sent a letter to the Limited Partners indicating that

the governmental investigations are still ongoing.

4. Defendants Admit To Paying Distributions Using Investor Capital
Contributions Instead Of Operating Income, As Previously

4]
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 45 of 57

Represented, And Then Promptly Cease Making Investor
Distributions

147. After raising more than $622 million through the fraudulent scheme discussed
herein, the 2018 Automotive PPM admits the Ponzi Scheme that it had been perpetrating on
investors for years. Indeed, after proffering to investors that it would make distributions to

investors based solely on operational profits in an effort to lure them into an investment with the

oc RB eg
RS (e:0h:2sis adced), Following this attempt to

come clean, the Fund Defendants began the short descent to revocation of investors’ distributions
altogether.

148. In April 2018, GPB Capital reduced the rate of its distributions to limited partners
from 8% per annum to 4% per annum.

149. On December 20, 2018, the General Partner announced that the GPB Investments
would be transitioning to a quarterly distribution plan and told Limited Partners that distributions
were not guaranteed.

150. On April 4, 2019, the General Partner sent letters to Limited Partners stating that
first quarter 2019 distributions, if any, would be declared at the end of April 2019, with
distributions to be paid on May 15, 2019. The letter further stated that it believed that most of the
GPB Investments would not be issuing first quarter 2019 distributions.

151. On April 30, 2019, the General Partner sent letters to the Limited Partners stating
that the GPB Investments would not be issuing a distribution to Limited Partners for the first

quarter of 2019.

42
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 46 of 57

152. As of June 21, 2019, Automotive is no longer making distributions to its investors
at all, and the value of the LP Units for Automotive and Holdings II have dropped by 39% and
25.4%, respectively.

5. The General Partner’s Chief Compliance Office Is Indicted For
Obstruction of Justice

153. While employed as a Securities Compliance Examiner and Industry Specialist in
the SEC’s Enforcement Division, the General Partner’s Managing Director and Chief
Compliance Officer, Michael S. Cohen, accessed and disclosed confidential information to the
General Partner — the target of the SEC’s investigation — to land a job with the General Partner.

154. On October 23, 2019, a superseding indictment was unsealed revealing that on
October 17, 2019, Mr. Cohen was charged with obstruction of justice, unauthorized computer
access, and unauthorized disclosure of confidential information.

155. In approximately October 2018, prior to leaving the SEC, Mr. Cohen accessed
highly sensitive information on SEC servers relating to an Enforcement Division investigation
into the General Partner, which included “confidential information, privileged attorney-client
work product and contacts with law enforcement and other regulatory agencies.” According to
the U.S. Attorney’s Office for the Eastern District of New York’s press release, “[d]Juring
discussions with [the General Partner’s] personnel about obtaining a job there, Cohn advised
them that he had inside information about the SEC’s investigation, and on several occasions he
disclosed information to members of [the General Partner’s] senior management about that
investigation.”

ba CLASS ALLEGATIONS

156. Plaintiffs assert this action under Rule 23(a) and Rule 23(b)(3) of the Federal

Rules of Civil Procedure and seeks to represent the following class of persons: all Limited

43
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 47 of 57

Partners in the GPB Investments who, between January 1, 2013 and December 31, 2018,
executed the subscription documents included with the PPMs for Automotive and Holdings II
(“the Class”). The following persons are excluded from the Class: Defendants and any entity in
which any Defendant has a controlling interest, and the officers, directors, affiliates, legal
representatives, immediate family members, heirs, successors, subsidiaries, and/or assigns of any
such entity.
157. The Class meets the prerequisites for certification under Rules 23(a) and 23(b)(3):
158. Numerosity: During the Class period, more than 14,000 Limited Partners
executed subscription documents included with PPMs for Automotive and Holdings II.
159. Common Questions of Law and Fact:
(a) Did the Fund Defendants and/or the Selling Defendants know that the
PPMs contained material misrepresentations or omissions of fact?
(b) Did the Fund Defendants and/or the Selling Defendants intend to defraud
Limited Partners?
(c) Did the Fund Defendants and/or the Selling Defendants owe investors
fiduciary duties and did they breach those duties by providing the PPMs and selling LP
Units in investments that were fraudulently induced, and, in the case of the Selling
Defendants, without performing proper due diligence?
(d) Did the General Partner breach the LPA when it failed to provide accurate
and truthful, annual financial reports as required?
(e) Did the General Partner breach the LPA when it failed to form and

authorize an Advisory Committee to review related party transactions as required?

44
1212132121
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 48 of 57

(f) Did the General Partner breach the LPA when it made distributions to
Limited Partners with investment capital and when the GPB Investments’ liabilities
exceeded its assets under DRULPA?

(g) Alternatively, did the Selling Defendants aid and abet the Fund
Defendants’ fraud when they, with willful blindness or recklessness indifference to this
fraud, provided PPMs to Limited Partners and sold LP Units in the GPB Investments?

(h) Were Defendants unjustly enriched by receiving fees that they did not earn
and/or were not entitled to?

160. Typicality: Plaintiffs are members of the Class, and their claims are based on the
same or similar facts affecting all Class members, including but not limited to misrepresentations
in, and omissions from, the PPMs on which Limited Partners indicated reliance in their
subscription documents. Plaintiffs’ legal theories are co-extensive with the Limited Partners
they seek to represent. Plaintiffs’ losses arose from the events, patterns of practice, and courses
of conduct alleged herein, which uniformly affected all members of the Class.

161. Adequacy of Representation: Plaintiffs will fairly and adequately protect the
interests of the Class because Plaintiffs are sincere in their interest to pursue this action, and they
are represented by competent counsel.

162. Predominance: Common issues predominate over any individual ones. Plaintiffs
rely on common class proof in the form of the LPAs, PPMs, and the subscription documents to
prove their claims, which were substantially similar across all investments, and Defendants’
conduct is uniform to all Class members.

163. Superiority: A class action is superior to individual actions for the fair and

efficient adjudication of a controversy involving more than 14,000 investors.

45
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 49 of 57

VI. COUNTS
COUNT I

FRAUD IN THE INDUCEMENT AGAINST THE
FUND DEFENDANTS AND THE SELLING DEFENDANTS

164. The foregoing paragraphs are re-alleged herein.

165, This Count is asserted against the Fund Defendants and the Selling Defendants.
Through statements made in the PPMs, the Fund Defendants falsely represented to the Limited
Partners in connection with the purchase of LP Units in the GPB Investments that: (1) the GPB
Investments would invest their monies into a legitimate automobile dealership acquisition
strategy that could feasibly be achieved rather than an illegitimate Ponzi Scheme; (ii) they would
be paid distributions from actual cash flows and profits arising from the acquisition of
dealerships rather than from capital funds invested by subsequent investors; (iii) the equity fund
model provided market advantages in the automobile dealership industry; (iv) the General
Partner had expertise in the automotive retail industry; and (v) that their financial statements
complied with GAAP and FASB accounting standards when in fact they did not. The Selling
Defendants had knowledge of these misrepresentations and failed to alert investors to them when
they provided the PPMs and other marketing materials for the GPB Investments.

166. The Fund Defendants failed to disclose the following material information, which
among other statements, they knew would render the statements in the PPMs false and/or
misleading, including that: (i) the Fund Defendants would employ the Convertible Loan Scheme
to end-run manufacturer approval requirements; (ii) they had not acquired manufacturer approval
for dealerships that they claimed to have acquired; and (iii) the fees deducted from Limited
Partners’ capital investment were being paid to affiliates to and/or related parties of the Fund

Defendants with whom they collaborated to defraud investors. The Selling Defendants had

46
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 50 of 57

knowledge of these omissions and failed to alert investors to them when they provided the PPMs
and other marketing materials for the GPB Investments.

167. The Fund Defendants and the Selling Defendants made these false and misleading
misrepresentations and omissions knowingly, recklessly, and without regard to their truth or
falsity, and with the intent to induce Plaintiffs and the Class to rely upon them and invest their
money in the GPB Investments.

168. The Fund Defendants’ and the Selling Defendants’ intent is demonstrated by the
fees they paid themselves and the knowledge that the General Partner would not be able to obtain
manufacturer approval as owner on the timetable provided for distributions in the PPMs. It also
is demonstrated by the fact that the Fund Defendants and the Selling Defendants knew that the
GPB Investments made distributions from capital investment funds, which revealed the Fund
Defendants’ knowledge that the investment they proposed was illegitimate and phony.

169. Plaintiffs justifiably relied on these false representations and omissions to their
detriment by investing money in the Fund Defendants’ and Selling Defendants’ Ponzi Scheme.

170. Asa direct and proximate result of their reliance on the false representations and
omissions of the Fund Defendants and Selling Defendants, Plaintiffs suffered damages, including
the loss of their investment and the improper and unearned fees paid to the Fund Defendants,
Selling Defendants, and other soliciting brokers.

COUNT II

FRAUDULENT MISREPRESENTATION AGAINST THE FUND DEFENDANTS AND
THE SELLING DEFENDANTS

171. The foregoing paragraphs are re-alleged herein.
172. Based on their unique or special expertise with respect to investments generally,

the Fund Defendants and the Selling Defendants had a special relationship of trust or confidence

47
121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 51 of 57

with Plaintiffs and claim to have earned the status of trusted advisor. Based on this position,
they owed Plaintiffs a duty to provide full and correct information to them.

173. Through statements made in the PPMs, the Fund Defendants and Selling
Defendants falsely represented to the Limited Partners that: (i) the GPB Investments would
invest their monies into a legitimate automobile dealership acquisition strategy that could
feasibly be achieved rather than an illegitimate Ponzi Scheme; (ii) they would be paid
distributions from actual cash flows and profits arising from the acquisition of dealerships rather
than from capital funds invested by subsequent investors; (iii) the equity fund model provided
market advantages in the automobile dealership industry; (iv) the General Partner had expertise
in the automotive retail industry; and (v) that their financial statements complied with GAAP and
FASB accounting standards when in fact they did not.

174. The Fund Defendants failed to disclose the following material information, which
among other statements, they knew would render the statements in the PPMs misleading that: (i)
the Fund Defendants would employ the Convertible Loan Scheme to end-run manufacturer
approval requirements; (ii) they had acquired manufacturer approval for dealerships that they
claimed to have acquired; and (iii) the fees deducted from Limited Partners’ capital investment
were being paid to affiliates of the Fund Defendants with whom they collaborated to defraud
Defendants.

175. The Fund Defendants and the Selling Defendants made the false representations
and material omissions knowing that Plaintiffs would use and rely upon the representations and
omissions for the particular purpose of determining where and how to invest their assets and, in
particular, to decide to invest their assets in the GPB Investments and whether and for how long

to retain the LP Units.

48
121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 52 of 57

176. Plaintiffs justifiably relied upon the false representations and material omissions
made by the Fund Defendants and the Selling Defendants to invest their money in the GPB
Investments.

177. As a result of Plaintiffs’ reliance on the false representations and material
omissions, they suffered damages in the loss of their investments, and the Fund Defendants and
the Selling Defendants derived substantial profits. The Fund Defendants’ and the Selling
Defendants’ misconduct was the direct and proximate cause of Plaintiffs’ losses.

COUNT II
BREACH OF CONTRACT AGAINST THE GENERAL PARTNER

178. The foregoing paragraphs are re-alleged herein.
179. This Count is against the General Partner. Under the LPA, the General Partner

had the following duties:

 

180. The General Partner breached these duties when it failed to timely produce the

financial reports and when it produced inaccurate financial statements from 2013 to 2017.

121213212_1
 

Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 53 of 57

181, The LPAs further |

 

a ee et
183. Plaintiffs and the Class were harmed as a result of these material contractual

breaches.

COUNT IV

BREACH OF DUTY TO MAKE LAWFUL DISTRIBUTIONS
AGAINST THE GENERAL PARTNER

184. The foregoing paragraphs are re-alleged herein.

185. The LPA grants the General Partner a a

WE However, the Delaware Revised Uniform Partnership Act (“DRULPA”) limits its

— = ee

186. DRULPA imposes the following limit on distributions:

A limited partnership shall not make a distribution to a partner to the extent
that at the time of the distribution, after giving effect to the distribution, all
liabilities of the limited partnership, other than liabilities to partners on
account of their partnership interests and liabilities for which the recourse of
creditors is limited to specified property of the limited partnership, exceed
the fair value of the assets of the limited partnership, except that the fair
value of property that is subject to a liability for which the recourse of

50
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 54 of 57

creditors is limited shall be included in the assets of the limited partnership
only to the extent that the fair value of that property exceeds that liability.

6 Del. C. § 17-607.

187. The General Partner breached the LPA when ————
1 cist utions

violated Section 17-607 of DRULPA because, after giving effect to the distributions, the GPB
Investments’ liabilities exceeded the fair value of its assets.

188. As aresult, the GPB Investments could not provide financial statements under the
LPA and required disclosures under SEC regulations. It has essentially ceased its operations
because of the improper distributions. The General Partner’s breach was the direct and proximate

cause of Plaintiffs’ loss of their investments.

COUNT V
AIDING AND ABETTING FRAUD AGAINST THE SELLING DEFENDANTS

189. The foregoing paragraphs are re-alleged herein.

190. This Count is alleged against the Selling Defendants in the alternative. As alleged
above, the Fund Defendants fraudulently induced Plaintiffs and other Limited Partners into
investing in the GPB Investments based on false or misleading statements in the PPMs and
related documents,

191. The Selling Defendants acted with willful blindness or recklessness in offering
the LP Units to investors, and as a result, is charged with constructive knowledge that:

(a) The Fund Defendants falsely represented to the Limited Partners in
connection with the purchase of LP Units in the GPB Investments: (i) that the GPB
Investments would invest their monies into a legitimate automobile dealership acquisition
strategy that could feasibly be achieved rather than an illegitimate Ponzi Scheme and (ii)

51
121213212_1
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 55 of 57

that they would be paid distributions from actual cash flows and profits arising from the
acquisition of dealerships rather than from capital funds invested by subsequent
investors; and

(b) The Fund Defendants failed to disclose the following material
information, which among other statements, they knew would render the statements in
the PPMs false and/or misleading: (i) that the Fund Defendants would employ the
Convertible Loan Scheme to end-run manufacturer approval requirements; (11) that they
had acquired manufacturer approval for dealerships that had not yet been approved by
manufacturers; and (iii) that the fees deducted from Limited Partners’ capital investment
were being paid to affiliates of and/or related parties to the Fund Defendants with whom
they collaborated to defraud Defendants.

192. The Selling Defendants substantially assisted the Fund Defendants by giving

credibility to the GPB Investments when they marketed it to other brokers and other investors

under their name and promoting their reputation.

193. Asadirect and foreseeable result of the Fund Defendants’ fraudulent inducement

and the aiding and abetting of that fraud, Plaintiffs and other Limited Partners have suffered

substantial damages.

COUNT VI
UNJUST ENRICHMENT AGAINST ALL DEFENDANTS

194. The foregoing paragraphs are re-alleged herein.

195. This Count is asserted against all Defendants in the alternative. Defendants

benefited from their unlawful acts and omissions and defrauded Plaintiffs and the other Limited

Partners. These unlawful acts and omissions caused Plaintiffs and the Limited Partners to suffer

injury and monetary loss.

52

1212132121
Case 1:19-cv-10498-LAK Document 2 Filed 11/12/19 Page 56 of 57

196. Asa result of the foregoing, it is unjust and inequitable for Defendants to have
enriched themselves through their collection of unearned fees for their services.

197. Equity requires that Defendants disgorge all such unjust enrichment and that
Defendants pay the amounts by which they were unjustly enriched to Plaintiffs in an amount to
be determined at trial.

198. Plaintiffs seek restitution from Defendants, and seek an order disgorging all
profits, benefits, and other compensation obtained by Defendants from their wrongful conduct.

199. Plaintiffs are entitled to establishment of a constructive trust impressed upon the
benefits derived by Defendants from their unjust enrichment and inequitable conduct.

Vil. PRAYER FOR RELIEF

WHEREFORE, on behalf of themselves individually and similarly situated Limited
Partners, Plaintiffs requests the following:

(a) Certification of this action as a class action proper and maintainable pursuant to
Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure and declaration of the proposed
named Plaintiffs as proper Class representatives;

(b) Preliminary and permanent equitable relief, including the imposition of a
constructive trust to preserve the assets wrongfully taken from Plaintiffs;

(c) Compensatory, consequential, and general damages in an amount to be
determined at trial;

(d) Disgorgement and restitution of all earnings, profits, compensation, and benefits
received by Defendants as a result of their unlawful acts and practices;

(e) Punitive damages for each claim based on the outrageous nature of Defendants’

willful and wanton disregard of Plaintiffs’ rights;

53
1212132121
Case 1:19-cv-10498-LAK Document

2 Filed 11/12/19 Page 57 of 57

(f) Costs, pre-judgment and post-judgment interest at the highest rate allowable by
state law, and reasonable attorneys’ fees and reimbursement of expenses; and
(g) | Other such relief as this Court may deem just and proper.

Dated: November 8, 2019

DILWQRTH PAXSON LLP

NW. GO ho~

 

OF COUNSEL

Catherine Pratsinakis (pro hac to be filed)
Jessica L. Titler-Lingle (pro hac to be filed)
DILWORTH PAXSON LLP

1500 Market Street, Suite 3500E
Philadelphia, PA 19102

Tel: (215) 575-7013
cpratsinakis@dilwothlaw.com
jtitler-lingle@dilworthlaw.com

Michael J. Barry (pro hac to be filed)
Kimberly A. Evans (pre hac to be filed)
Laina M. Herbert (pro hac to be filed)
GRANT & EISENHOFER P.A.
123 Justison Street

Wilmington, DE 19801

Tel: (302) 622-7000

Fax: (302) 622-7100
mbarry@gelaw.com
kevans@gelaw.com
lherbert@gelaw.com

Counsel for Plaintiffs

54
121213212_1

Ira N. Glauber (ING — 8383)
99 Park Avenue

New York, NY 10016

Tel: (917)675-4252
iglauber@dilworthlaw.com
